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                  UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
__________________________________________
                                           )
TENARIS BAY CITY, INC.; MAVERICK           )
TUBE CORPORATION; IPSCO TUBULARS           )
INC.; TENARIS GLOBAL SERVICES (U.S.A.) )
CORPORATION; and SIDERCA S.A.I.C.,        )
                                          )
                  Plaintiffs,             )
                                          )
                  v.                      )
                                          )
UNITED STATES,                            )  Court No. 22-00343
                                          )
                  Defendant,              )  PUBLIC VERSION
                                          )
                  and                     )
                                          )
UNITED STATES STEEL CORPORATION;          )
BORUSAN MANNESMANN PIPE U.S. INC.;        )
PTC LIBERTY TUBULARS LLC; UNITED          )
STEEL, PAPER AND FORESTRY, RUBBER,        )
MANUFACTURING, ENERGY, ALLIED             )
INDUSTRIAL AND SERVICE WORKERS            )
INTERNATIONAL UNION, AFL-CIO; and         )
WELDED TUBE,                              )
                                          )
                  Defendant-Intervenors.  )
__________________________________________)

                                             ORDER

        Upon consideration of the Department of Commerce’s remand redetermination,

plaintiffs’ comments, defendant’s response, and all other pertinent papers, it is hereby

        ORDERED that the Department of Commerce’s remand redetermination is sustained in

all respects.



Dated: ___________________, 2024                        ____________________________
       New York, New York                                         JUDGE
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                                          )
                  Plaintiffs,             )
                                          )
                  v.                      )
                                          )
UNITED STATES,                            )  Court No. 22-00343
                                          )
                  Defendant,              )  PUBLIC VERSION
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                  and                     )
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MANUFACTURING, ENERGY, ALLIED             )
INDUSTRIAL AND SERVICE WORKERS            )
INTERNATIONAL UNION, AFL-CIO; and         )
WELDED TUBE,                              )
                                          )
                  Defendant-Intervenors.  )
__________________________________________)

                   DEFENDANT’S REPLY TO COMMENTS
                   ON THE REMAND REDETERMINATION


                                        BRIAN M. BOYNTON
                                        Principal Deputy Assistant Attorney General

                                        PATRICIA M. McCARTHY
                                        Director

                                        CLAUDIA BURKE
                                        Deputy Director
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August 26, 2024
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                 UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE CLAIRE R. KELLY, JUDGE
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INC.; TENARIS GLOBAL SERVICES (U.S.A.) )
CORPORATION; and SIDERCA S.A.I.C.,        )
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                  Plaintiffs,             )
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                  v.                      )
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UNITED STATES,                            )  Court No. 22-00343
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                  Defendant,              )  PUBLIC VERSION
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MANUFACTURING, ENERGY, ALLIED             )
INDUSTRIAL AND SERVICE WORKERS            )
INTERNATIONAL UNION, AFL-CIO; and         )
WELDED TUBE,                              )
                                          )
                  Defendant-Intervenors.  )
__________________________________________)

                        DEFENDANT’S REPLY TO COMMENTS
                        ON THE REMAND REDETERMINATION

       Defendant, the United States, respectfully submits this reply to the comments filed by

Plaintiffs Tenaris Bay City, Inc., Maverick Tube Corporation, IPSCO Tubulars Inc., Tenaris

Global Services (U.S.A.) Corporation, and Siderca SAIC (collectively, Plaintiffs or Tenaris),

ECF No. 78 (Pl. Remand Comments), on the final remand redetermination issued by the

Department of Commerce (Commerce) pursuant to Tenaris Bay City, Inc. et al. v. United States,

693 F.Supp.3d 1314 (Ct. Int’l Trade 2024) (Remand Order), remanding to Commerce the Final
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Determination in the investigation of oil country tubular goods (OCTG) from Argentina. See Oil

Country Tubular Goods from Argentina, 87 Fed. Reg. 59,054 (Dep’t of Commerce Sept. 29,

2022) (Final Determination) (P.R. 226) and accompanying Issues and Decision Memorandum

(P.R. 220).

                                       BACKGROUND

       On October 6, 2021, Commerce received an antidumping duty (AD) petition concerning

imports of OCTG from Argentina, filed in proper form on behalf of the petitioners. 1 See

Petitioners’ Letter, “Petitions for the Imposition of Antidumping and Countervailing Duties,”

dated October 6, 2021 (the Petition) (C.R. 1 through 6, P.R. 1 through 6). On October 12 and 21,

2021, the petitioners provided supplemental information and clarifications, in response to

Commerce’s requests for additional information regarding the Petition. See Petitioners’ Letters,

“Response to General Issues Questionnaire,” dated October 12, 2021 (First General Issues

Supplement Response) (C.R. 10, P.R. 19); see also “Response to Second General Issues

Questionnaire,” dated October 21, 2021 (C.R. 23, P.R. 32). Also in October, Commerce

received four submissions from Tenaris USA commenting on industry support. 2 See Tenaris

USA’s Letters, “Factual Errors in Petitions,” dated October 8, 2021 (Tenaris USA Letter I) (C.R.

9, P.R. 15); “Comments on Petitioners’ Standing,” dated October 15, 2021 (Tenaris USA Letter

II) (C.R. 12, P.R. 22); “Reply Comments on Petitioners’ Standing,” dated October 20, 2021

(Tenaris USA Letter III) (C.R. 22, P.R. 31); and Comments on Petitioners’ Second General



1
 The petitioners are Borusan Mannesmann Pipe U.S., Inc. (Borusan U.S.), PTC Liberty Tubulars
LLC (PTC Liberty), United States Steel Corporation, the United Steel, Paper and Forestry,
Rubber, Manufacturing, Energy, Allied Industrial and Service Workers International Union,
AFL-CIO, CLC, and Welded Tube USA, Inc. (collectively, the petitioners).
2
 Tenaris Bay City, Inc., IPSCO Tubulars Inc., Maverick Tube Corporation, Tenaris Global
Services (U.S.A.) Corporation (collectively, Tenaris USA).
                                                2
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Issues Questionnaire Response,” dated October 22, 2021 (Tenaris USA Letter IV) (C.R. 25, P.R.

35). On October 18, 2021, the petitioners responded to Tenaris USA’s comments on industry

support. See Rebuttal Comments on Standing (C.R. 19, P.R. 29).

       On October 26, 2021, Commerce initiated the LTFV investigation on imports of OCTG

from Argentina, finding that the Petition met the requirements of 19 U.S.C. § 1673a. See

Petitioners’ Letter, “Response to Tenaris Submission Concerning Petitioners’ Standing,” dated

October 18, 2021 (Petitioners’ Response) (C.R. 19, P.R. 29). On May 11, 2022, Commerce

issued its preliminary determination that OCTG from Argentina is being, or is likely to be, sold

in the United States at LTFV for the period of investigation, October 1, 2020, through September

30, 2021. See Oil Country Tubular Goods from Argentina: Preliminary Affirmative

Determinations of Sales at Less Than Fair Value and Critical Circumstances, Postponement of

Final Determination, and Extension of Provisional Measures, 87 Fed. Reg. 28,801 (Dep’t of

Commerce May 11, 2022). Commerce made no change, in this regard, for purposes of its Final

Determination. See Final Determination, 87 Fed. Reg. at 59,054. Plaintiffs subsequently

challenged the Final Determination, contesting Commerce’s: (1) determination that the Petition

was filed “by or on behalf of the industry”; and (2) decision not to poll the domestic industry and

seek actual production data for the 12 months immediately preceding the filing of the Petition to

determine industry support. See Remand Order at 2.

       On March 14, 2024, the Court remanded the Final Determination for Commerce to

further explain or reconsider its determination that the data relied upon accurately reflected

industry support, including whether finishing operations were counted twice. Id. at 3, 21, and

27. On May 28, 2024, Commerce released its draft results of redetermination and provided

interested parties the opportunity to comment. See Draft Results of Redetermination Pursuant to



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Court Remand (Remand P.R. 1) (Draft Remand). On June 4, 2024, the petitioners and Tenaris

submitted comments regarding the Draft Remand. See Petitioners’ Letter, “Comments on Draft

Remand Redetermination,” dated June 4, 2024 (Petitioners’ Comments) (Remand P.R. 2); see

also Tenaris’s Letter, “Comments on Draft Results of Redetermination Pursuant to Court

Remand,” dated June 4, 2024 (Remand C.R. 1, Remand P.R. 3). On June 7, 2024, Commerce

rejected Tenaris’s comments after determining that the submission contained untimely new

factual information not previously contained on the record of the proceeding, while providing

Tenaris with an opportunity to refile its comments after removing the references to the untimely

new factual information. See Petitioners’ Letter, “Comments on Draft Remand

Redetermination,” dated June 4, 2024 (Petitioners’ Comments) (Remand P.R. 2); see also

Tenaris’s Letter, “Comments on Draft Results of Redetermination Pursuant to Court Remand,”

dated June 4, 2024 (Remand C.R. 1, Remand P.R. 3). On June 10, 2024, Tenaris resubmitted its

comments redacting references containing new factual information. See Tenaris’s Letter,

“Resubmission of Comments on Draft Results of Redetermination Pursuant to Court Remand,”

dated June 10, 2024 (Tenaris’ Comments on Draft Remand) (Remand C.R. 2, Remand P.R. 6).

       Commerce filed its Final Redetermination with the Court, ECF No. 74 (Final

Redetermination), on June 26, 2024. Tenaris filed its Remand Comments in opposition to

Commerce’s Final Redetermination on July 26, 2024. ECF No. 78.

                                         ARGUMENT

       The Court should sustain the Final Redetermination because Commerce complied with

the Remand Order in all respects, and its determination is reasonable, supported by substantial

evidence, and otherwise in accordance with law.




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I.     Commerce Complied With The Court’s Remand Order

       In the Remand Order, the Court held that “Commerce must either reconsider or further

explain its use of data from the 2020 market period, and specifically to ensure that finishing

operations data were not double counted.” Remand Order at 10. In particular, the Court found

that Commerce failed “to address record evidence indicating that certain domestic companies

both produce and finish OCTG, leading to the inference that some domestic pipe may have been

double counted in the industry support calculations.” Id. at 24 (referencing Borusan

Mannesmann and PTC Liberty Tubular’s (PTC Liberty) websites, and identification of producers

on the ITC’s sunset review). As demonstrated below, Commerce fully complied with the

Remand Order, and Tenaris’s arguments to the contrary are without merit.

       Commerce reconsidered the information on the record and further explained the “double

counting” issue raised by Tenaris. Final Redetermination at 14-17. First, regarding Borusan

Mannesmann’s website, the “information demonstrates that Borusan U.S.’s Baytown, Texas

facility further processes imported green tube from its Gemlik, Turkiye facility, and not

domestically produced green tube from another U.S. producer.” Id. at 16 (emphasis in original).

Thus, Commerce reasonably concluded that “Borusan U.S.’s production appropriately reflects its

U.S. mill operations as well as the heat treatment processing of its green tube imports from its

Turkiye facility.” Id.

       Second, regarding PTC Liberty’s website, the “record demonstrates that PTC Liberty is

first and foremost a producer of OCTG; a producer that also has capabilities to process (or

finish) OCTG.” Id. at 15-16 (emphasis in original). Accordingly, Commerce properly rejected

the significance of PTC Liberty’s processing capabilities “as information on the record indicates




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that U.S. pipe mills are typically equipped with the facilities necessary to perform heat-treatment,

end upsetting, threading, and coupling.” Id. at 16.

       Third, regarding PTC Liberty not being identified as a producer in the ITC’s sunset

review, Commerce explained that PTC Liberty was formerly known as Boomerang Tube and

“was identified in the ITC’s list as Boomerang Tube.” Id. at 15. Thus, PTC Liberty Tubular was

indeed identified as a U.S. producer of OCTG in the ITC’s sunset review.

       Plaintiffs first argue that “{Commerce} did not resolve the distortive effect identified by

the Court.” Pl. Remand Comments at 1. Plaintiffs’ misstate the Court’s holding. At no point in

the Court’s opinion did it hold that there was a distortive effect due to alleged “double counting.”

Rather, the Court stated that Commerce did not address certain record evidence, leading to an

inference that there “may have” been “doubling count{ing}.” Remand Order at 23-24. In the

Final Redetermination, Commerce addressed this potential “double counting” argument and

concluded that there was no evidence to suggest that finishing operations were counted twice.

See Final Redetermination at 12-14.

       Tenaris next complains that “Commerce incorrectly focuses its limited discussion on

these two processors.” Pl. Remand Comments at 12. Yet, Borusan and PTC Liberty are the only

two petitioning companies Tenaris itself focused on to assert that some domestic pipe may have

been double counted in the industry support calculation. Commerce is limited to the record

before it, and because Tenaris USA only addressed these two companies, Commerce properly

analyzed record evidence related to Borusan and PTC Liberty.

       Tenaris also contends that Commerce failed to corroborate whether the shipment data are

complete and include mill and processor shipments (including imported green tube that is heat

treated in the United States). Pl. Remand Comments at 13-19. As support, Tenaris [



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                                                 ] Id. at 15. Tenaris states that the [




                                                                                              ].

Id. Commerce reexamined the record with respect to this exhibit and found that [



                                     ] Final Redetermination at 21. Further, as Commerce

explained, the “petitioners [



                ] Id. Thus, Tenaris’s claims regarding potential flaws in the underlying data in

the industry support calculation are unsubstantiated and without merit.

       Additionally, while the Court has already sustained Commerce’s decision to not poll the

domestic industry and did not remand this issue to Commerce, Tenaris still argues that

Commerce should have polled the domestic industry. Pl. Remand Comments at 11. As the

Court has already held, “Commerce’s decision not to poll the industry and instead rely on other

information to determine industry support for the AD petition is in accordance with law and

within its discretion.” Remand Order at 14.

       Finally, Commerce’s reliance on 2020 production and shipment data, and certain limited

information from 2018-2019 to convert 2020 shipment data to production data was in accordance

with law. The statute requires that the petition be “accompanied by information reasonably



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available to the petitioner supporting those allegations.” 19 U.S.C. § 1673a(b)(1) (emphasis

added). 2020 was the most recently completed calendar year preceding initiation, and

Commerce appropriately relied on production data from that time period, which reasonably

overlapped with its period of investigation. Likewise, the 2018-2019 conversion ratio data were

the “most recently available industry-wide production and shipment data” available on the record

to make necessary data conversions. See Initiation Checklist, Attachment II. The mere fact that

data relate to the past does not mean that they cannot be used to establish industry support,

particularly given that there was nothing on the record to call into question the accuracy or

adequacy of the evidence provided by the petitioners. Indeed, despite its objections to every

time period on the record, Tenaris USA never proposed an alternative time period that

Commerce could examine to calculate industry support. Moreover, information provided by

Tenaris USA in its pre-initiation comments indicate that similar market conditions, under which

Tenaris USA challenges the 2020 data, were also present in much of 2021. See Tenaris USA

Letter II at 14-16. Thus, despite its contentions, Tenaris USA’s statements in its submissions

failed to demonstrate whether using a more recent time period would have been more

appropriate. If anything, as Commerce explained when initiating the investigation, it appears

that the ultimate basis for Tenaris USA’s argument against relying on 2020 industry data is for

Commerce to adjust the time period analyzed for industry support to move the needle in such a

way so that the Petition no longer has the requisite level of industry support. See Initiation

Checklist, Attachment II at 17-18.

II.    Tenaris Did Not Exhaust Its Administrative Remedies

       During the remand proceeding, Tenaris again asserted new arguments that it failed to

make before the agency when commenting on the industry support as required by 19 U.S.C. §



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1673a(c)(4)(E), or in the Rule 56.2 briefs. Specifically, Tenaris’s arguments with respect to

“undercounting,” heat treatment and threading operations, and the source underlying the industry

support calculations were never raised before Commerce until the remand proceeding. As such,

Tenaris failed to exhaust its administrative remedies, and the Court should not allow Tenaris to

benefit from this failure.

       Pursuant to 19 U.S.C. § 1673a(b)(1), the starting point for initiation of an investigation is

a petition “accompanied by information reasonably available to the petitioner” alleging the

elements necessary for the imposition of an antidumping duty. Additionally, Commerce, apart

from in exceptional circumstances, has 20 days to decide whether it is going to initiate an

investigation. See 19 U.S.C. § 1673a(c)(1)(A) and (B). During these 20 days, parties are

required to submit all their arguments and information related to industry support. See 19 U.S.C.

§ 1673a(c)(4)(E) (“{Prior to its initiation determination, any interested party} may submit

comments or information on the issue of industry support. After {making its initiation decision},

the determination regarding industry support shall not be reconsidered.”). The Statement of

Administrative Action repeats this principle, “{a}rguments regarding industry support should not

be made to either Commerce or the Commission following initiation.” Uruguay Round

Agreements Act, Statement of Administrative Action, H.R. Doc. No. 103–316, vol. 1 at 863

(1994) (SAA). In addition to the double counting argument that the Court remanded to

Commerce, Tenaris failed to raise the “undercounting,” the heat treatment/threading, and

industry source arguments prior to initiation, as it was required to do.

       While Tenaris tries to obfuscate how much its arguments have changed over time, its

submissions to Commerce prior to initiation demonstrate that Tenaris USA only cared about the

inclusion of “mere finishing operations.”



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               The industry support calculations submitted by Petitioners
               suffer from an additional potential flaw. The Petitioners’
               calculations of their own production and/or shipments
               might include data that pertain to mere finishing
               operations of Petitioners rather than the production
               of OCTG. As an initial matter, Commerce should confirm
               whether the data submitted by Petitioners include only
               their own OCTG production, or include both OCTG
               production and finishing operations. Based on
               publicly-available information, two of the petitioner
               companies – Borusmann Mannesmann Pipe U.S., Inc.
               (“Borusan U.S.”) and PTC Liberty Tubulars LLC
               (“PTC”) – appear to have potentially significant finishing
               operations relative to their actual OCTG production.
               This deficiency further justifies a decision by Commerce
               to poll the parties and require that any production data
               they provide do not include OCTG that they merely
               finish rather than produce. According to Borusan
               U.S.’s website, it is unclear what portion of Borusan
               U.S.’s operations involves actual pipe production, as
               opposed to finishing operations for green tube. Likewise,
               PTC provides information that indicates its operations
               include finishing operations.

Tenaris USA Letter II at 9-10 (emphasis added). Tenaris’s arguments concerned the amount a

company’s operations included finishing as opposed to producing OCTG. Similarly, in Tenaris

USA Letter III, Tenaris USA again describes its concerns with the inclusion of “mere finishing

operations:”

               Thus, the Petitioners’ calculations of their own production
               and/or shipments might include data that pertain to mere
               finishing operations of Petitioners rather than the
               production of OCTG. Notably, Petitioners do not rebut
               Tenaris USA’s argument that two of the petitioner
               companies – Borusmann Mannesmann Pipe U.S., Inc.
               (“Borusan U.S.”) and PTC Liberty Tubulars LLC
               (“PTC”) – appear to have potentially significant finishing
               relative to their actual OCTG production. Nor do Petitioners
               address the fact PTC was not recognized as a U.S. producer
               in the recent ITC sunset review in 2020, or offer any
               explanation as to changes that may justify the company
               being considered part of the industry after the sunset period.
               This is particularly odd given that sunset review proceedings

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               are by their very nature forward looking in their outlook.
               Moreover, Petitioners do not address how the issue of
               finishing pertains to Commerce’s determination of industry
               support, and do not cite to any Commerce precedent to
               explain their unclear position. The relationship of pipe
               formation and pipe finishing has implications for any
               assessment of a domestic OCTG industry given that the
               percentage of green pipe and plain end imports of OCTG
               into the United States will vary year to year and may
               constitute the majority of imports in any given year.

Tenaris USA Letter III at 8 (emphasis added). Again, Tenaris USA only took issue with the

inclusion of “mere finishing operations” in the industry support calculation. Although Tenaris

argued that the percentage of imports of green pipe and plain end OCTG vary year to year and

that this has implications for any assessment of a domestic OCTG industry, but it failed to

elucidate what these implications would be and how this impacts the industry support

calculation. Finally, in Tenaris USA Letter IV, Tenaris USA highlighted several of its “core

concerns” with the petitioners’ industry support calculation: “Petitioners’ attempt to reach the 50

percent industry support threshold by cobbling together smaller producers and

processors/finishers of OCTG products.” Tenaris USA Letter IV at 4-5.

       Tenaris argues that Commerce was “provided with clear notice” of potential distortions in

the industry support calculation with respect to these issues. Pl. Remand Comments at 23. Yet,

even now, Tenaris has been unable to figure out the exact problem with the industry support

calculations. For instance, Tenaris argues that the “potential for improperly counting—whether

double-counting or undercounting—is one of several distortions . . . .” Pl. Remand Comments at

4 (emphasis added). Tenaris’s new theory of “undercounting” does not satisfy the requirement

that parties exhaust their administrative remedies, and Tenaris USA certainly never raised this

argument prior to initiation. See, e.g., U.S. Steel Corp. v. United States, 348 F.Supp.3d 1248,

1259 (Ct. Int’l Trade 2018) (“Failure to raise and adequately develop a legal claim results in

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waiver.”) (citing Ad Hoc Shrimp Trade Action Comm. v. United States, 616 F.Supp.2d 1354,

1367 (Ct. Int’l Trade 2009); see also Rhone Poulenc, Inc. v. United States, 899 F.2d 1185, 1191

(Fed. Cir. 1990); see also JTEKT Corp. v. United States, 768 F.Supp.2d 1333, 1354 (Ct. Int’l

Trade 2011)).

       Tenaris USA also never made specific arguments with respect to heat treatment and

threading operations that it did during the remand and now before the Court. See Pl. Remand

Comments at 10-12. The only instance where the words “heat” and “thread” appear in Tenaris

USA’s pre-initiation submissions are in Tenaris USA Letter II, where, as mentioned above,

Tenaris USA is quoting from Borusan Mannesmann’s and PTC Liberty Tubular’s respective

websites. See Tenaris USA Letter II at 10, n.26, n.27. In addition to not raising these arguments

before Commerce, Tenaris failed to raise them in its Rule 56.2 brief. Despite failing to raise any

arguments about heat treatment or threading operations before Commerce initiated the

investigation, Tenaris’ raises new arguments, such as “for further processing to be considered

part of the U.S. industry production, the pipe must be heat treated . . . .” Pl. Remand Comments

at 6. Pursuant to 19 U.S.C. § 1673a(c)(4)(E), Tenaris USA was required to raise these arguments

and provide evidence for these arguments prior to Commerce’s initiation determination, yet it

failed to do so. Further, because Tenaris failed to raise these arguments its brief to the Court,

Tenaris has waived these arguments. See Pirelli Tyre Co., Ltd. v. United States, 638 F.Supp.3d

1361, 1370-71 (Ct. Int’l Trade 2023) (“Pirelli failed to raise its argument regarding Commerce’s

authority to impose a China-wide entity rate in its opening brief and did not meaningfully assert

the argument in its reply, the argument is waived.”). The Court should reject these arguments

and Tenaris’s attempts to make new arguments that it was required to make prior to initiation.




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       Tenaris has also raised, for the first time, objections to the industry source that the

petitioners’ provided in the petition. See Pl. Remand Comments at 15-17, 22. While Tenaris

USA has consistently argued that data from 2020 are anomalous, Tenaris USA never made any

specific arguments with respect to issues it had with the actual content of industry source. See

generally Tenaris USA Letter I through IV. Only now has Tenaris begun to develop arguments

attacking aspects of the industry source. See Pl. Remand Comments at 8, 15-17, 22. Because

Tenaris failed to raise these arguments in its briefs before the Court, Tenaris has also waived

these arguments. See Pirelli, 638 F.Supp.3d at 1370-71.

       As has been demonstrated above, the statute requires Commerce, apart from exceptional

circumstances, to decide whether it is going to initiate an investigation within 20 days from the

filing of the petition. See 19 U.S.C. § 1673a(c)(1)(A) and (B). During these 20 days, parties are

required to submit all their arguments and information related to industry support, which

Commerce considers in its decision of whether sufficient industry support exists. See 19 U.S.C.

§ 1673a(c)(4)(E). Tenaris improperly invites the Court to disregard the statute by advancing new

arguments that were not presented during the 20-day period for submitting such arguments and

evidence. These new arguments are not logical extensions of Tenaris’s existing arguments.

Specifically, Tenaris’s initial arguments to Commerce focused on whether further processed

OCTG should be included in the scope of the domestic like product, not whether heat treatment

and threading were sufficient types of further processing to be included in the scope of the

domestic like product. Additionally, Tenaris did not raise objections about the industry source

itself, it only argued that the data in the industry source covering 2020 were anomalous. Nor did

Tenaris argue that the same industry source “undercounted” any of the data it was trying to

represent. While Tenaris has attempted to reframe the arguments it made before Commerce,



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Commerce responded to these arguments at the pre-initiation stage in the manner in which they

were presented as demonstrated by what is actually on the record. Accordingly, the Court should

reject Tenaris’ arguments regarding “undercounting,” heat treatment/threading, and the source

underlying the industry support calculation.

                                        CONCLUSION

       For these reasons, we respectfully request that the Court sustain Commerce’s Remand

Redetermination and enter judgment for the United States.



                                                    Respectfully submitted,

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                              CERTIFICATE OF COMPLIANCE

         I hereby certify, pursuant to section 2(B)(1) of the Standard Chambers Procedures of this

Court, that this brief contains 3,830 words, excluding the table of contents, table of authorities,

any addendum containing statutes, rules or regulations, any certificates of counsel, and counsel’s

signature, as calculated by the word processing system used to prepare this brief (Microsoft

Word).


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